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                                   TYRONE A. BLACKBURN
                                          _____
                                           MEMBER OF
                                           NY & NJ BAR
                                              ______
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                                1242 EAST 80TH STREET, 3RD FLOOR
                                       BROOKLYN, NY 11236


                                                                                   August 13, 2021
 Via ECF
 The Honorable Margo K. Brodie
 225 Cadman Plaza East
 Brooklyn, NY 11201


             Re: Murray et al. v. United Parcels Service, Inc., et al., No. 20-cv-01427 (EDNY.)

 Dear Chief Judge Brodie:

         This law firm represents Plaintiff’s Fari Murray, Carlos Palaguachi, Daniel Moyle, Roy
 Welsh, Warren Payne, Ahmed Radwan, and Robert Santiago(“Plaintiff’s”) in the above-referenced
 matter. I write in response to Defendant's opposition letter filed on August 13, 2021. Contrary to
 Defendants assertion, Plaintiffs are not attempting to file a 3rd amended complaint. As explained
 in the August 9th letter, the Declarations simple provides the Court with the actual photos, bank
 records, videos, and text messages referenced in the second amended complaint.

 Defendants are only upset because they realize they cannot defend the fact that they intentionally
 stole time from the package delivery drivers. Plaintiff Murray’s Declaration provides an exhibit
 from William Grey instructing him to reduce the driver’s time.

 Defendants are upset because they realize they cannot justify the unjust enrichment they received
 when Plaintiff Moyle and Plaintiff Welsh paid out of pocket to cover up automobile accidents and
 were never reimbursed for these expenses. Plaintiff Moyle and Plaintiff Welsh's Declarations
 provide exhibits of canceled checks, bank transactions/atm transactions, photos, and a video of
 them engaging in these activities.

 These declarations do not present any new arguments. They are simply supplying the Court with
 the evidence to substantiate the claims raised in the second amended complaint, as well as the
 opposition to the motion to dismiss. Plaintiff Murrays Declaration and Exhibits are the actual items
 mentioned and quoted in the complaint. Plaintiff Moyle and Plaintiff Welsh only provide the Court
 with the exhibits that substantiate the claims raised in the complaint. No repleading is happening
 here, and the Plaintiffs are NOT requesting leave of Court to amend the complaint.
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 As previously explained, and as explained to the Defendants, Plaintiffs Murray, Moyle, and Welsh
 all had difficulty in one way or another securing the bank statements (due to the age of the
 transactions), as well as securing the video and some of the text message exhibits due to the age
 of the devices and the location of the content. It was not possible for us to upload these documents
 when the answer to the motion was filed. Defendants seem to forget that we are in the middle of a
 global pandemic. Obtaining records such as these is difficult in normal times, much less during a
 global pandemic.

 We ask the Court to review the Declarations and exhibits. If the Court feels, as Defendant wrongly
 proclaims, that this is an attempt by Plaintiff to replead (which it is not), the Court can simply
 choose to disregard them.

 Thank you for your time and attention.

                                                                      Respectfully Submitted,


                                                                      Tyrone A. Blackburn, Esq.

 Cc: All counsel of record (via ECF)
